
129 F.Supp. 950 (1955)
William CLARK, Plaintiff,
v.
John Foster DULLES, Secretary of State, et al., Defendants.
Civ. A. No. 2620-54.
United States District Court, District of Columbia.
February 28, 1955.
*951 Morris Ernst, New York City and Jack Wasserman, Washington, D. C., for plaintiff.
Leo Rover, U. S. Atty., and Frank Strickler, Ass't U. S. Atty., Washington, D. C., for defendant.
SCHWEINHAUT, District Judge.
I have this day decided the case of Nathan v. Dulles, D.C., 129 F.Supp. 951, and the reasoning in that case applies equally, it seems to me, in this one. It is urged by the government that the plaintiff had a "hearing" in that he personally talked to and corresponded with the then Under Secretary of State. I do not believe that that was a hearing in the sense that the law has in mind. I think, therefore, that the plaintiff should have a hearing in the State Department but I do not suggest or direct the manner in which the hearing should be conducted.
The motion to dismiss and the motion for summary judgment are both denied and an appropriate order will be signed.
